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 6
   Attorneys for Defendant Jason McClelland
 7
 8                                 UNITED STATES DISTRICT COURT
 9                                        DISTRICT OF ARIZONA
10 Marcella Fox, an individual,                        NO.
11                                         Plaintiff, Notice of Removal
12                v.
13 State of Arizona, a body politic; Jason
   McClelland, an individual, on his own behalf
14 and on behalf of his marital community; Jeffrey
   Van Winkle, an individual, on his own behalf
15 and on behalf of his marital community;
   Charles Ryan, an individual, on his own behalf
16 and on behalf of his marital community; and
   David Shinn, an individual, on his own behalf
17 and on behalf of his marital community,
18                                       Defendants.
19
20                     Defendant Jason McClelland having received a copy of Plaintiff’s summons and
21   complaint, hereby notices the removal of the above-captioned case in the Superior Court for the
22   State of Arizona, in the County of Maricopa, Case No.: CV2021-006796 from the Superior
23   Court of Arizona, in the County of Maricopa, to this Court and in support thereof asserts:
24
25

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 1                      This Court has jurisdiction pursuant to 28 U.S.C. §1331 (federal question). This
 2   action may be removed pursuant to 28. U.S.C. §1441(a) and 1441(b) because Plaintiff has
 3   asserted a civil rights cause of action against Defendant McClelland asserting violation of the
 4   Fourteenth Amendment of the United States Constitution arising from the alleged sexual
 5   harassment of Plaintiff in violation of the equal protection clause. Plaintiff has also asserted
 6   §1983 claims against Defendants Van Winkle, Ryan and Shinn, alleging that they ratified the
 7   alleged unconstitutional conduct.        This Court also has supplemental jurisdiction of those state
 8   law claims asserted since they are closely related to the federal claims asserted 28 U.S.C.§1367.
 9                      Pursuant to LRCiv. 3.6(b), the following documents are attached as exhibits to this
10   Notice:
11
             Exhibit No. Documents Included:
12
                    1         Civil Cover Sheet (JS-44)
13
                    2         Supplemental Civil Cover Sheet
14
                    3         State Court Docket as of 6-22-2021
15
                    4         Operative Complaint
16
                              Service Documents:
17                  5
                                 • Summons – State of Arizona
18                               • Summons – Jason McClelland
19                               • Summons – Jeffrey Van Winkle
                                 • Summons – David Shinn
20
                                 • Summons – Charles Ryan
21                               • Acceptance of Service on behalf of Jason McClelland
22                               • Acceptance of Service on behalf of State of Arizona,
                                     Jeffrey Van Winkle, David Shinn, and Charles Ryan.
23
                              Notice of Appearance – Georgia Staton and Ravi Patel for Jason
                    6
24                            McClelland
25                  7         Remainder of the State Court Record
                                • Certificate of Compulsory Arbitration
26
                                • Stipulation to Extend Time by Which Jason McClelland

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 1                                 Must Answer or file a Responsive Pleading
 2                               • Order Extending Time for Jason McClelland to Answer or
                                   otherwise File a Responsive Pleading
 3
                                 • Minute Entry re Case Reassignment
 4
                                 •   Notice Regarding Pending Motions
 5
                    8         Notice of Filing Notice of Removal
 6
 7                      On or about April 26, 2021, Plaintiff filed a State Court Complaint against the
 8   State of Arizona, Jason McClelland, Jeffrey Van Winkle, Charles Ryan, and David Shinn. See
 9   Exhibit 4. Jason McClelland accepted service of the Complaint on June 1, 2021. The State of
10   Arizona, Van Winkle, Ryan and Shinn accepted service on June 2, 2021. Copies of all service
11   documents are attached hereto as Exhibit 5. This Notice of Removal is being filed within 30
12   days McClelland’s acceptance of service and is therefore timely filed under 28 U.S.C. §1446(b).
13   Undersigned counsel has conferred with counsel for Defendants the State of Arizona, Van
14   Winkle, Ryan and Shinn, and they have consented to removal. Thus, all Defendants have
15   consented to removal.
16                      The Defendants have not filed answers at this time. Defendant McClelland was
17   granted an extension of his deadline to file an answer or responsive pleading up to and including
18   July 16, 2021. There are no pending motions at this time.
19                      A Notice of Filing Notice of Removal, a true and correct copy of which is attached
20   as Exhibit 8, has been filed in the Superior Court for the State of Arizona, in the County of
21   Maricopa, Case No. CV2021-006796, on behalf of Jason McClelland.
22                      True and correct copies of all pleadings and other documents filed in the state
23   court proceeding have been filed herewith as described above.
24   ///
25   ///
26   ///

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 1                   DATED this 23rd day of June, 2021.
 2                                               JONES, SKELTON & HOCHULI P.L.C.
 3
 4                                               By /s/ Ravi V. Patel
                                                    Georgia A. Staton
 5                                                  Ravi V. Patel
                                                    40 N. Central Avenue, Suite 2700
 6                                                  Phoenix, Arizona 85004
                                                    Attorneys for Defendant Jason McClelland
 7
 8                                  CERTIFICATE OF SERVICE
 9                    I hereby certify that on this 23rd day of June, 2021, I caused the foregoing
10   document to be filed electronically with the Clerk of Court through the CM/ECF System
11   for filing; and served on counsel of record via the Court’s CM/ECF system.
12
     /s/ Lorraine Marques
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